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                          UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION

IN RE NATIONAL PRESCRIPTION
OPIATE LITIGATION

This document relates to:

Cleveland Bakers & Teamsters Health &
Welfare Fund and Pipe Fitters Local Union             MDL No. 2804
No. 120 Insurance Fund v. Purdue Pharma               Case No. 17-md-2804
L.P., et al.                                          Judge Dan Aaron Polster
Case No. 18-OP-45432 (N.D. Ohio)




                    MOTION TO DISMISS COMPLAINT
       BY DEFENDANTS WALMART INC., CVS HEALTH CORP., RITE AID OF
          MARYLAND, INC., AND WALGREENS BOOTS ALLIANCE, INC.

        Defendants Walmart Inc., CVS Health Corp., Rite Aid of Maryland, Inc., and Walgreens

 Boots Alliance, Inc. (collectively the “Moving Defendants”) move to dismiss the Complaint

 pursuant to Rules 12(b)(1) and 12(b)(6). The Complaint must be dismissed for the reasons set forth

 in the accompanying Memorandum of Law. It must also be dismissed for the reasons set forth in

 the Motion to Dismiss Summit County Second Amended Complaint by Walmart Inc., CVS Health

 Corp., Rite Aid Corp., and Walgreens Boots Alliance, Inc., Doc. #497, and in the motion submitted

 by Defendants McKesson Corporation, Cardinal Health, Inc., and AmerisourceBergen Drug




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Corporation, both of which are incorporated by reference pursuant to Case Management Order

One. See Doc. #232.



      Dated: 23 July 2018

                                                   Respectfully submitted,


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                                  CERTIFICATE OF SERVICE
       I hereby certify that on July 23, 2018, this Motion to Dismiss was filed electronically on

the master docket for this matter. Case Management Order One provides that “[e]lectronic case

filing of a document, other than an initial pleading, in the master docket shall be deemed to

constitute proper service on all parties.” ECF No. 232 at 8 (No. 1:17-MD-2804).

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